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MELLISSA MORROW, "'DD}-'t t¥'?é;-tt.'§~t"t§dé§l"”**
Plaintiff,
_VS_
SALLIE MAE, INC.,

CASE NO.:
Defendant. / 2‘ | ],P;_\/ l_) l_,| »]‘:'/'M "ZC{C.!\/Z
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Plaintiff, MELLISSA MORROW, by and through her undersigned counsel, sues
the Defendant, SALLIE MAE, INC., and in support thereof respectfully alleges the following:
1. Plaintiff alleges violations of the Telephone Consurner Protection Act, 47 U.S.C. §227 et
Seq. (“TCPA”) and the Florida Consumer Collections Practices Act, Chapter 559, et Seq.
(“FCCPA”).

,]URISI)ICTION ANI) VENUE
2. This is an action for damages exceeding Fifteen Thousand Dollars ($15,000.00) exclusive

of attorney’s fees and cost.

3. Jurisdiction and venue for purposes of this action are appropriate and conferred by 47
U.S.C. §227(b)(3), 47 U.S.C. §227(c)(5), and F.S. §47.001.

4. Venue is proper in this District because the Plaintiff resides in this District (Collier
County), the Defendant transacts business in Collier County, Florida, and the cause of action set

forth herein occurred in this District.

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FACTUAL ALLEGATIONS
5. Plaintiff is a natural person, and citizen of the State of Florida, residing in Collier County,
Florida.
6. Defendant is a corporation and a citizen of the State of Delaware with its principal place

v of business at 2001` Edmund Halley Drive, Reston, Virginia.

7. The conduct of Defendant which gives rise to the cause of action herein alleged occurred
in this District, Collier County, Florida.

8. Defendant, at all times material, was attempting to collect on an account and/or was
making calls on an account belonging to “Molly Morrow” (account numbers ending in 9928,
9886, 9910, 9902, and 9894) for which Plaintiff has no financial responsibility for as she did not
co~sign for those accounts of “Molly Morrow” (hereinafter the “subject account”), for which
Defendant was calling her cellular telephone number.

9. The only loan Plaintiff co-signed for Molly Morrow was a Sallie Mae, Inc. account
number ending in 9878, which is current and has always been current.

10. Defendant knowingly and/or willfully harassed and abused Plaintiff on numerous
occasions by calling Plaintiff’s cellular telephone number over one hundred ninety (190) times
and up to six (6) times a day from March, 2013 through January, 2014, with such frequency as
can reasonably be expected to harass, all in an effort related to the collection of the subject
account.

11. Upon information and belief, each call the Defendant made to the Plaintiff was made
using an “automatic telephone dialing system” which has the capacity to store or produce
telephone numbers to be called, using a random or sequential number generator or an artificial or

prerecorded voice; and to dial such numbers as specified by 47 U.S.C §227(a)(1) (hereinafter

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“autodialer calls”) as each time Plaintiff answered one of Defendant’s calls an automated or
prerecorded message would immediately begin to play, and state in the same tone and manner
each time the following message “This is Angie Hill from Sallie Mae, Please return my call to
866-913-6090,” in a prerecorded voice.

12. Each of the autodialer calls the Defendant made to the Plaintiff’s cellular telephone
number was done so without the “prior expressed consent” of the Plaintiff.

13. In approximately March, 2013, Plaintiff began receiving automated autodialer calls from
Defendant on her Cellular telephone number, (727) 798-7625, concerning a debt arising out of
the subject account of Molly Morrow for which Plaintiff had no financial obligation.

14. Plaintiff is the subscriber, regular user and carrier of the cellular telephone number, (727)
798-7625, and was the called party and recipient of Defendant’s autodialer calls.

15. The autodialer calls from Defendant came from telephone numbers which included, but
are not limited to: 765-283-3395, 866-913-6090 and 317-348-9960.

16. After receiving several of these autodialer calls in March, 2013 from Defendant, Plaintiff
returned the call in April, 2013 and spoke with a representative of Sallie Mae, Inc. and told him
that she did not have any financial responsibility for the account they were calling on, that
Plaintiff personally did not owe them any money and that they were calling the wrong number.
Further, Plaintiff requested the calls from Defendant stop and to be taken off the Defendant’s call
list.

17. Despite informing Defendant that she was not financially responsible for the subject
account, never co-signed for the loan they were attempting to collect on, that she did not owe the
subject debt, and to stop calling her with regard to her daughter’s account, the Defendant’s

autodialer calls to Plaintiff’ s cellular phone continued.

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18. The autodialer calls from Defendant continued approximately, on average, four (4) to six
(6) times a day from May, 2013, until approximately January, 2014. Defendant has, or should be
in possession and/or control of call logs, account notes, autodialer reports and/or other records
that detail the exact number of autodialer calls made to Plaintiff over the relevant time period.

19. While Plaintiff did not keep detailed records of all the autodialer calls made by Defendant
to Plaintiff’s cellular telephone number, attached hereto as Exhibit “A” is a true and correct
copy of some of Defendant’s autodialer call frequency for the period of December 6, 2013
through January 5, 2014, showing approximately forty (40) autodialer and/or prerecorded calls to
Plaintiff’s cellular telephone over just that period of time alone.

20. The Defendant has a corporate policy to use an automatic telephone dialing system or a
pre-recorded or artificial voice, and to make autodialer calls just as they did to the Plaintiff’s
cellular telephone in this case, with no way for the called party and recipient of the calls, or the
Defendant, to permit the removal of the incorrect number.

21. Despite actual knowledge of their wrongdoing, the Defendant continued the campaign of
autodialer calls, well-beyond April, 2013, when Plaintiff first advised Defendant that they were
calling the wrong number, that she was not “Molly Morrow,” that this was Plaintiff s cellular
telephone number, and to stop calling Plaintiff.

22. Defendant’s corporate policy is structured as to continue to ca11 individuals like the
Plaintiff, despite the individual, like Plaintiff, explaining to the Defendant that that she was not
financially responsible for the subject account, never co-signed for the loan they were attempting

to collect on, that she did not owe the subject debt, and advising Defendant to stop calling.

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23. Defendant’s corporate policy provided no means for the Plaintiff to have her cellular
number removed from the ca11 list, or otherwise permit the cessation of and/or suppression of
calls to Plaintiff.
24. Defendant knowingly employed methods and/or has a corporate policy designed to harass
and abuse individuals and has set up their autodialer in a manner which makes it virtually
impossible for the autodialer calls to stop.
25. Defendant knowingly employed methods that did not permit the cessation of or
suppression of autodialer calls to the Plaintiff’s cellular telephone.
26. Plaintiff did not expressly consent to Defendant’s placement of autodialer calls to
Plaintiff’s cellular telephone by the use of an automatic telephone dialing system or the use of an
artificial or prerecorded voice prior to Defendant’s placement of the calls,
27. D_ue to Defendant’s constant autodialer calls and demands for payment Plaintiff has
suffered statutory a‘nd actual damages in the form of emotional distress, frustration, worry, anger,
and/or loss of capacity to enjoy life.
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(Violation of the “TCPA”)
28. Plaintiff re-alleges and incorporates Paragraphs one (1) through twenty-seven (27) above
as if fully stated herein.
29. None of Defendant’s autodialer calls placed to Plaintiff were for “emergency purposes”
as specified in 47 U.S.C. §227(b)(1)(A).
30. Defendant willfully and/or knowingly violated the TCPA with respect to the Plaintiff,

especially for each of the autodialer calls made to Plaintiff’s cellular telephone after Plaintiff

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notified Defendant in April, 2013, that Defendant was calling the wrong number, that he did not
know the subject debt, and to stop calling Plaintiff.
31. Defendant repeatedly placed non-emergency telephone calls to Plaintiff’ s cellular
telephone using an automatic telephone dialing system or prerecorded or artificial voice without
Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §
227(b)(1)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against ~Defendant for statutory damages, actual damages, treble damages, costs,
interest, and any other such relief the court may deem just and proper.

COUNT II
(Violation of the “FCCPA”)

32. Plaintiff re-alleges paragraphs one (1) through twenty-seven (27) above as if fully stated
herein:

33. At all times relevant to this action Defendant is subject to and must abide by the law of
Florida, including Florida statute § 559.`72.

34. Plaintiff is‘ an alleged “debtor” and/or “consumer” pursuant to F.S. §559.55(2) as
Defendant, per its conduct in continuing to call Plaintiff on the subject account despite knowing
that Plaintiff was not its actual debtor, engaged in conduct that could only be construed as
alleging that Plaintiff was obligated to pay said debt.

35. Defendant has violated Florida Statute §559.72(7) by willfully communicating with the
Plaintiff, an alleged debtor, with such frequency as can be reasonably be expected to harass the
debtor.

36. Defendant has violated Florida Statute §559.72(7) by willfully engaging in other conduct

l which can reasonably be expected to abuse the Plaintiff, an alleged debtor.

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37. Defendant has violated Florida Statute §559.72(9) by claiming, attempting, or threatening
to enforce a debt as to Plaintiff, when Defendant had actual knowledge that the debt was not
legitimate as to Plaintiff.
38. Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and
continuous sustaining of actual and statutory damages as described by Florida Statute §559.77.
WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, actual damages for emotional and mental
pain and suffering, fear, humiliation, embarrassment, frustration and loss of capacity for the
enjoyment of life, costs, interest, attorney’s fees pursuant to F.S. §559.77, and any other such
relief the court may deem just and proper.

Respectfully submitted,

Mi ael J. Vitoria, Esquire

Fl rida Bar # 0135534

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